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                            Exhibit 15
                  Declaration of Eden Shemuelian
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  From: Chancellor Gene D. Block <                             >
  Date: Tue, Apr 30, 2024 at 5:01 PM
  Subject: Affirming our Values in a Challenging Time
  To: <                                   >

  Dear Bruin Community:

  This past Thursday, a group of demonstrators — both members of the UCLA community
  and others unaffiliated with our campus — established an unauthorized physical
  encampment on part of Royce Quad, joining those who have set up similar presences at
  universities around the country.

  Many of the demonstrators, as well as counter-demonstrators who have come to the area,
  have been peaceful in their activism. But the tactics of others have frankly been shocking
  and shameful. We have seen instances of violence completely at odds with our values as an
  institution dedicated to respect and mutual understanding. In other cases, students on their
  way to class have been physically blocked from accessing parts of the campus.

  UCLA supports peaceful protest, but not activism that harms our ability to carry out our
  academic mission and makes people in our community feel bullied, threatened and afraid.
  These incidents have put many on our campus, especially our Jewish students, in a state of
  anxiety and fear.

  In response, we have taken several immediate actions. We have significantly increased our
  security presence in the area, including adding greater numbers of law enforcement officers,
  safety personnel and student affairs mitigators. We have also engaged law enforcement to
  investigate the recent acts of violence.

  The barriers that demonstrators used to block access to buildings have been removed, and
  we have staff located around Royce Quad to help ensure that they will not go up again.
  With regard to these incidents, our student conduct process has been initiated, and could
  lead to disciplinary action including suspension or expulsion.

  We continue to encourage anyone who experiences discrimination to report it to our Civil
  Rights Office. If you feel you are in danger, contact UCPD.

  I recognize that the suffering in the Middle East has had a profound impact on our campus,
  and we continue to hope for a peaceful resolution. While Bruins hold a variety of
  perspectives on this conflict, we must all protect the wellbeing of our peers and maintain an
  environment safe for learning. This is a commitment I call on our community to uphold as
  we navigate the weeks ahead.

  Sincerely,



                       SHEMUELIAN DECLARATION EXHIBIT 15
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